                        Case 7:21-cr-00032-HL-TQL Document 121 Filed 06/24/22 Page 1 of 4
AO 245B      Judgment in a Criminal Case
(Rev. 12/19) Sheet 1


                                           UNITED STATES DISTRICT COURT
                                         Middle District of Georgia
                UNITED STATES OF AMERICA               JUDGMENT IN A CRIMINAL CASE
                           V.
               SERGIO MONTELONGOSANCHEZ                                   Case Number:                7:21-CR-00032-HL-TQL(4)
                                                                          USM Number:                 56227-509
                                                                          BRADLEY MILES HANNAN
                                                                          Defendant’s Attorney

THE DEFENDANT:
☒ pleaded guilty to count(s) 1s
☐ pleaded nolo contendere to count(s)
  which was accepted by the court.
☐ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                        Offense Ended              Count
21:843(b) and (d)(1) and 18:2 - Unlawful Use of a Communication Facility                   03/12/2021                 1s




       The defendant is sentenced as provided in pages 2 through          4        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)

☐ Count(s)                                            ☐ is ☐ are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              June 21, 2022
                                                                              Date of Imposition of Judgment
                                                                              s/ Hugh Lawson
                                                                              Signature of Judge
                                                                              HUGH LAWSON
                                                                              SENIOR UNITED STATES DISTRICT JUDGE
                                                                              Name and Title of Judge
                                                                              06/24/2022
                        Case 7:21-cr-00032-HL-TQL Document 121 Filed 06/24/22 Page 2 of 4
AO 245B      Judgment in Criminal Case
(Rev. 12/19) Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    2        of   4
  DEFENDANT:                    SERGIO MONTELONGOSANCHEZ
  CASE NUMBER:                  7:21-CR-00032-HL-TQL(4)



                                                              IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of: Forty Eight (48) months as to Count 1s to run concurrently to the term of imprisonment imposed in Cobb County,
  Georgia Superior Court Case #00-9-4205-28.




             The court makes the following recommendations to the Bureau of Prisons:
       ☒
             Upon completion of imprisonment, you are to be delivered to a duly authorized Immigration and Customs
             Enforcement official for the appropriate proceedings. If deported, you shall not re-enter the United States
             unless you obtain legal means of entry.

       ☒     The defendant is remanded to the custody of the United States Marshal.

       ☐     The defendant shall surrender to the United States Marshal for this district:

           ☐      at                            ☐     a.m.     ☐ p.m.         on                                             .

           ☐      as notified by the United States Marshal.

       ☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐      before 2 p.m. on                                       .

           ☐      as notified by the United States Marshal.

           ☐      as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
  I have executed this judgment as follows:


           Defendant delivered on                                                       to

  at                                                , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL



                                                                          By __________________________________________________
                                                                                                DEPUTY UNITED STATES MARSHAL
                         Case 7:21-cr-00032-HL-TQL Document 121 Filed 06/24/22 Page 3 of 4
 AO 245B      Judgment in a Criminal Case
 (Rev. 12/19) Sheet 5 — Criminal Monetary Penalties

                                                                                                        Judgment — Page       3        of           4
  DEFENDANT:                          SERGIO MONTELONGOSANCHEZ
  CASE NUMBER:                        7:21-CR-00032-HL-TQL(4)

                                               CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment              Restitution                 Fine               AVAA Assessment*            JVTA Assessment**
  TOTALS                               $100.00

  ☐ The determination of restitution is deferred until                        An Amended Judgment in a Criminal Case (AO245C) will be
        entered after such determination.
  ☐     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.




  ☐ Restitution amount ordered pursuant to plea agreement $
  ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
  ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        ☐ the interest requirement is waived for the          ☐ fine                               ☐ restitution
        ☐ the interest requirement for the                        ☐ fine                                ☐      restitution is modified as follows:

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub.L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September
    13, 1994, but before April 23, 1996.
                        Case 7:21-cr-00032-HL-TQL Document 121 Filed 06/24/22 Page 4 of 4
 AO 245B      Judgment in a Criminal Case
 (Rev. 12/19) Sheet 6 — Schedule of Payments

                                                                                                             Judgment — Page        4       of        4
  DEFENDANT:                   SERGIO MONTELONGOSANCHEZ
  CASE NUMBER:                 7:21-CR-00032-HL-TQL(4)

                                                          SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ☐ Lump sum payment of $                                    due immediately, balance due

             ☐     not later than                                     , or
             ☐     in accordance with          ☐ C,     ☐      D     ☐       E, or ☐ F below; or

  B     ☒ Payment to begin immediately (may be combined with                    ☐ C,         ☐ D, or          ☒ F below); or
  C     ☐ Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                             (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

  D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

  E     ☐ Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F     ☒ Special instructions regarding the payment of criminal monetary penalties:
  Any criminal monetary penalty ordered by the court shall be due and payable in full immediately. Present and future Assets are subject to
  enforcement and may be included in the treasury offset program allowing qualified federal benefits to be applied to the balance of criminal
  monetary penalties.

  Payment during the term of supervised release will commence within 60 days after release from imprisonment. The court will set the payment
  plan based on an assessment of the defendant’s ability to pay at that time. (fine/restitution) payment shall be due during the period of
  imprisonment at the rate of not less than $25 per quarter and pursuant to the bureau of prisons’ financial responsibility program. The value of
  any future assets may be applied to offset the balance of criminal monetary penalties. The defendant may be included in the treasury offset
  program, allowing qualified benefits to be applied to offset the balance of any criminal monetary penalties.

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
  imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
  Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  ☐      Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.


  ☐      The defendant shall pay the cost of prosecution.

  ☐      The defendant shall pay the following court cost(s):

  ☐      The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
